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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Criminal Case No. 06-cr-00217-PSF-01

 UNITED STATES OF AMERICA,

        Plaintiff,

 v.

 1. MICHAEL ANTHONY ROMERO,

        Defendant.


               ORDER GRANTING GOVERNMENT’S MOTION FOR
               DEFENDANT TO RECEIVE THE THIRD LEVEL FOR
           ACCEPTANCE OF RESPONSIBILITY UNDER U.S.S.G. §3E1.1(b)


        THIS MATTER comes before the Court on the Government’s referenced motion,

 and this Court, after having the opportunity to review this pleading, its file in this matter,

 and being otherwise fully advised in the premises, it is hereby:

        ORDERED AND ADJUDGED that the Motion, for good cause shown, should be

 and is hereby GRANTED.

        THEREFORE, this defendant shall receive a 3-level decrease in offense level for

 acceptance of responsibility under the provisions of §3E1.1 of the Sentencing

 Guidelines.

        DONE AND ORDERED this _____ day of January, 2007.

                                     BY THE COURT:

                                     _________________________________
                                     PHILLIP S. FIGA, JUDGE
                                     UNITED STATES DISTRICT COURT
                                     DISTRICT OF COLORADO
